         Case 4:11-cr-00159-CVE                    Document 159 Filed in USDC ND/OK on 06/12/25                        Page 1 of 5

AO 245D (Rev. 10/17) Judgment in a Criminal Case for Revocations
        Sheet 1



                                            UNITED STATES DISTRICT COURT
                                                             Northern District of Oklahoma
             UNITED STATES OF AMERICA                                    )        JUDGMENT IN A CRIMINAL CASE
                                                                         )        (For Revocation of Probation or Supervised Release)
                                  v.                                     )
                                                                         )
         CLINT WESLEY MENZO LAWRENCE                                     )        Case Number:           11-CR-0159-002-CVE
                                                                         )
                                                                                  USM Number:            11801-062
                                                                         )
                                                                         )
                                                                                  Joel Wayne Vandruff
                                                                                  Defendants Attorney
THE DEFENDANT:

☒ admitted guilt to violation of condition (s) mandatory, standard, special of the term of supervision.
☐ was found in violation of condition(s) ____ after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number                 Nature of Violation                                                                 Violation Ended
Special Condition #2             Failed to submit to drug testing as directed                                        January 20, 2025
Mandatory Condition #4           Tested positive for controlled substances                                           November 18, 2024
Standard Condition #2            Failed to report to the probation office as directed                                January 14, 2025
Standard Condition #6            Failed to report change of residence to probation office                            January 14, 2025



      The defendant is sentenced as provided in pages 2 through 5 of this Judgment. The sentence is imposed
pursuant to the Sentencing Act of 1984.
☐ The defendant has not violated condition(s) _____ and is discharged as to such violation(s) condition.
       It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid. If ordered
to pay restitution, the defendant must notify the Court and United States attorney of material changes in economic circumstances.

                                                                        June 11, 2025
                                                                        Date of Imposition of Judgment




                                                                        Signature of Judge




                                                                        Claire V. Eagan, United States District Judge
                                                                        Name and Title of Judge


                                                                        June 12, 2025
                                                                        Date
          Case 4:11-cr-00159-CVE                     Document 159 Filed in USDC ND/OK on 06/12/25                       Page 2 of 5
                                                                                                                         Judgment - Page 2 of 5

AO 245D    (Rev. 10/17) Judgment in Criminal Case for Revocations
           Sheet 2 — Imprisonment


 DEFENDANT:                      CLINT WESLEY MENZO LAWRENCE
 CASE NUMBER:                    11-CR-0159-002-CVE


                                                                    IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of: Eight months.




      ☒      The Court makes the following recommendations to the Bureau of Prisons: The Court recommends that the defendant be placed
             in a facility that will allow him the opportunity to participate in the most comprehensive drug treatment and mental health programs
             available during his period of incarceration. The Court recommends that the defendant be placed in a facility in or as close to
             Oklahoma as possible.


      ☒      The defendant is remanded to the custody of the United States Marshal.


      ☐      The defendant shall surrender to the United States Marshal for this district:

           ☐      at                                    ☐ a.m. ☐           p.m. on                                           .

           ☐      as notified by the United States Marshal.


      ☐      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           ☐      before 2 p.m. on                                             .

           ☐      as notified by the United States Marshal.

           ☐      as notified by the Probation or Pretrial Services Office.



                                                                        RETURN
 I have executed this Judgment as follows:




           Defendant delivered on                                                             to

 at                                                       ,with a certified copy of this Judgment.


                                                                                                        UNITED STATES MARSHAL


                                                                                By

                                                                                                     DEPUTY UNITED STATES MARSHAL
          Case 4:11-cr-00159-CVE                     Document 159 Filed in USDC ND/OK on 06/12/25                     Page 3 of 5
                                                                                                                       Judgment - Page 3 of 5

AO 245D    (Rev. 10/17) Judgment in a Criminal Case for Revocations
           Sheet 3 — Supervised Release

 DEFENDANT:                     CLINT WESLEY MENZO LAWRENCE
 CASE NUMBER:                   11-CR-0159-002-CVE

                                                              SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of : Twenty-four months.




                                                                MANDATORY CONDITIONS

     1.     You must not commit another federal, state or local crime.
     2.     You must not unlawfully possess a controlled substance.
     3.     You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
            from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                substance abuse. (check if applicable)
     4.       ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
                restitution. (check if applicable)
     5.       ☐ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
     6.       ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
                as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where
                you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
     7.       ☐ You must participate in an approved program for domestic violence. (check if applicable)


     You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
     page.
          Case 4:11-cr-00159-CVE                     Document 159 Filed in USDC ND/OK on 06/12/25                       Page 4 of 5
                                                                                                                         Judgment - Page 4 of 5

AO 245D    (Rev. 10/17) Judgment in a Criminal Case for Revocations
           Sheet 3A — Supervised Release

 DEFENDANT:                     CLINT WESLEY MENZO LAWRENCE
 CASE NUMBER:                   11-CR-0159-002-CVE

                                             STANDARD CONDITIONS OF SUPERVISION
   As part of your supervision, you must comply with the following standard conditions of supervision. These conditions are imposed
   because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
   officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.        You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of release
           from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
           frame.
 2.        After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
           when to report to the probation officer, and you must report to the probation officer as instructed.
 3.        You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
           the court or the probation officer.
 4.        You must answer truthfully the questions asked by the probation officer.
 5.        You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
           arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
           the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
           officer within 72 hours of becoming aware of a change or expected change.
 6.        You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
           to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.        You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
           doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
           you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
           responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer in
           advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
           aware of a change or expected change.
 8.        You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
           convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
           probation officer.
 9.        If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.       You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
           was designed, or was modified for, the specific purpose of causing bodily injury or death to another person, such as nunchakus or
           tasers).
 11.       You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
           first getting the permission of the court.
 12.       If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may,
           after obtaining Court approval, notify the person about the risk or require you to notify the person about the risk and you must
           comply with that instruction. The probation officer may contact the person and confirm that you have notified the person about the
           risk.
 13.       You must follow the instructions of the probation officer related to the conditions of supervision.
         Case 4:11-cr-00159-CVE                      Document 159 Filed in USDC ND/OK on 06/12/25                        Page 5 of 5
                                                                                                                          Judgment - Page 5 of 5

  AO 245D     (Rev. 10/17) Judgment in a Criminal Case for Revocations
              Sheet 3B — Supervised Release


  DEFENDANT:                   CLINT WESLEY MENZO LAWRENCE
  CASE NUMBER:                 11-CR-0159-002-CVE

                                             SPECIAL CONDITIONS OF SUPERVISION

    1.   The defendant shall submit his person, property, residence, office, vehicle, cellular telephone, computer, or any other electronic
         communication device, to a search conducted by the United States Probation Officer at a reasonable time and in a reasonable manner,
         based upon reasonable suspicion of contraband or evidence of a violation of a condition of release. Failure to submit to a search may
         be grounds for revocation. The defendant shall warn any other residents that the premises may be subject to searches pursuant to this
         condition.

    2.   The defendant shall successfully participate in a program of testing and treatment, to include inpatient treatment, for drug and alcohol
         abuse, at a treatment facility and on a schedule determined by the probation officer. The defendant shall abide by the policies and
         procedures of the testing and treatment program to include directions that the defendant undergo urinalysis or other types of drug
         testing consisting of no more than eight tests per month if contemplated as part of the testing and treatment program. The defendant
         shall waive any right of confidentiality in any records for drug and alcohol treatment to allow the probation officer to review the course
         of testing and treatment and progress with the treatment provider.

    3.   The defendant shall successfully participate in a program of mental health treatment and follow the rules and regulations of the
         program. The probation officer, in consultation with the treatment provider, will determine the treatment modality, location, and
         treatment schedule. The defendant shall waive any right of confidentiality in any records for mental health treatment to allow the
         probation officer to review the course of treatment and progress with the treatment provider. The defendant must pay the cost of the
         program or assist (co-payment) in payment of the costs of the program if financially able.

    4.   The defendant shall be placed on home detention for a period of five months, to commence within 72 hours of release from
         imprisonment. During this time, the defendant shall remain at place of residence except for employment and other activities approved
         in advance by the probation officer. Home detention shall include electronic monitoring unless electronic monitoring is waived by
         the probation officer. If an electronic device is utilized, the defendant shall observe the rules specified by the probation officer; and
         shall maintain a telephone at the defendant’s place of residence without any special services, modems, answering machines, or cordless
         telephones during the term of home confinement if instructed by the probation officer. The entire cost of electronic monitoring shall
         be paid by the U.S. Probation Office.




U.S. Probation Officer Use Only
A U.S Probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
Judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant’s Signature _____________________________________                        Date _________________
